Case 2:20-cv-00137-AWA-DEM Document 1-1 Filed 03/11/20 Page 1 of 8 PageID# 4




                   Exhibit
                     A
         Case 2:20-cv-00137-AWA-DEM Document 1-1 Filed 03/11/20 Page   2 of 8 PageID# 5
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      vb9\ar Uc\v\\)r ^pV ^                                                       USA




l^bi^oWS. VA ^3>50a^                      7Dlfl 113D DODO 3hfll 6t.SO                   Barn Swallow^




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                          Case 2:20-cv-00137-AWA-DEM Document 1-1 Filed 03/11/20 Page 3 of 8 PageID# 6
      WARRANT IN DEBT (CrviL Claim for Money)                         CASE NO.                                                                                                                                 HEARING DATE AND
      Commonv(?Salth oTV'irginia             VA. CODE § 16.1-79                                                                                                                                                      TIME
    /^Courtroom 2A 664.-4913                                                                                                                                                                 ...........
                                                           Norfolk                             General District Court                 'RaINTIEFIS) O^ST name,     first name, middle         INITIAL)
                                       CITY OR COUNTY
                                                                                                                                                                        ..V\gi).\.j:>(L,.
           urtrSom 2D 664-4914                             150 St. Paul’s Blvd., N^^
                                                    STREET ADDRESS OF COURT                                                                               ..............................................

      TO ANY AUTHORIZED OFFICER: You are hereby commanded to summons the Defendant(s).                                                                                                      ............

      TO THE ®EFENDANT(S): You are summoned to appear before this Court at the above address on
          .^^...l..l..V^.. .!^.0....... ?.‘.?.9..?.‘.™.t..................... to answer the Plaintiff(s)’ civil claim (see belowl   .L.\...e.d.i4.............. LLC...
                                                                                                                                      DEFENDANT(S) (LAST NAME, FIRST NAME, MIDDLE INITIAL)
                  '        RBTURN DATE AND TIME


                             ......
                                                                                                                                                                                                               rn
                      DATE ISiSbd-                                  [ ] CLERK     [ ] DEPUTY CLERK       [ ] MAGISTRATE                                                                         ............
      CLAIM: Plaintiff(s)J^rim that Defendant(s) owe Plaintiff(s) a debt in the sum of
      $ .j...i^..|.(.]00.... net of any credits , with interest at ...I(p % from date of ...          DQ3             until paid,
              ^....i:.C?P cost^nd $.......
      $                                                            attorney’s fees with the basis of this claim being                             WARRANT IN DEBT
      [ ]0•pen Account [—JC^ntract [ ] Note ^ Other (EXPLAIN)                                                            ....
     TC                                                                                                                             TO DEFENDANT: You are not required to appear;
                                                                                                                                    however, if you fail to appear, judgment may be entered
                       I
                                      \li\                .1.1.!                                                                    against you. See the additional notice of the reverse                        JUDGMENT PAID OR
      HOMESTEAD EXEM'fepO*                 ^                                                                                                                                                                    SATISFIED PURSUANT
                                                                                                                                    about requesting a change of trial location.
                                                                                                                                                                                                                TO ATTACHED NOTICE
                                                                                                                                    [ ] To dispute this claim, you must appear on the return                      OF SATISFACTION.
           ..1‘iJU^
                  DATE                            PLAINTIFF      [ ] PLAINTIFF’S ATTORNEY    [ ] PLAINTIFF’S EMPLOYEE/AGENT
                                                                                                                                        date to try this case.
                                                                                                                                    [ ] To dispute this claim, you must appear on the return                              DATE
      CASE disposition!                                                                                                                 date for the judge to set another date for trial.
      JUDGMENT against [ *]~rikmed Defendant(s) [ ] ................
                                                                                                                                    Bill of Particulars                                                                  CLERK
                                                                                                                                                                ORDERED                        DUE
      for $                       ..... net of any credits, with interest at                  % from date
      of                          until paid, $                             costs and $                          attorney’s fees    Grounds of Defense
                                                                                                                                                                ORDERED                        DUE
                                                                                                                                                                                                                     DISABILITY
      [ ] and $                                    costs for Servicemember Civil Relief Act counsel fees                                                                                                        ACCOMMODATIONS
      HOMESTEAD EXEMPTION WAIVED? [ ] YES [ ] NO [ ] CAN NOT BE DEMANDED                                                            ATTORNEY FOR PLAINTIFF(S)                                                      for loss of hearing,
                                                                                                                                                                                                                  vision, mobility, etc.,
      [ ] JUDGMENT FOR [ ] NAMED DEFENDANT(S) [ ] ........................................................                                                                                                       contact the court ahead
I
                                                                                                                                                                                                                         of time.

      [ ] NON-SUIT [ ] DISMISSED.........                                                                                           ATTORNEY FOR DEFENDANT(S)

      Defendant(s) Present: [ ] NO [ ] YES
                                                                                                                                                                                                                                        /
                  DATE                                                          JUDGE

;     FORM DC-412 (FRONT) REVISED 10/18        (A 194681 6/19)
                                    Case 2:20-cv-00137-AWA-DEM Document 1-1 Filed 03/11/20 Page 4 of 8 PageID# 7
RETURNS: Each defendant was served according to law, as indicated below, unless not found.

NAME                                                                   NAME                                                              NAME


ADDRESS                                                                ADDRESS                                                           ADDRESS



                           Tel.                                                                     Tel.                                                              Tel.
[ ] PERSONAL SERVICE                                                   [ ]   PERSONAL SERVICE                                            [ ]   PERSONAL SERVICE
                           No.                                                                      No.                                                               No,
    Being unable to make personal service, a copy was                        Being unable to make personal service, a copy was                 Being unable to make personal service, a copy was
    delivered in the following manner:                                       delivered in the following manner:                                delivered in the following manner

[ ] Delivered to family member (not temporary                          [ ] Delivered to family member (not temporary                     [ ] Delivered to family member (not temporary
    sojourner or guest) age 16 or older at usual place                     sojourner or guest) age 16 or older at usual place                sojourner or guest) age 16 or older at usual place
    of abode of party named above after giving                             of abode of party named above after giving                        of abode of party named above after giving
    information of its purport. List name, age of                          information of its purport. List name, age of                     information of its purport. List name, age of
    recipient, and relation of recipient to party named                    recipient, and relation of recipient to party named               recipient, and relation of recipient to party named
    above.                                                                 above.                                                            above.




[ ] Posted on front door or such other door as                         [ ] Posted on front door or such other door as                    [ ] Posted on front door or such other door as
    appears to be the main entrance of usual place of                      appears to be the main entrance of usual place of                 appears to be the main entrance of usual place of
    abode, address listed above. (Other authorized                         abode, address listed above. (Other authorized                    abode, address listed above. (Other authorized
    recipient not found.)                                                  recipient not found.)                                             recipient not found.)

[ ] Served on Secretary of the Commonwealth                            [ ] Served on Secretary of the Commonwealth                       [ ] Served on Secretary of the Commonwealth

[ ] NOT FOUND                                                          [ ] NOT FOUND                                                     [ ] NOT FOUND
                     SERVING OFFICER                                                         SERVING OFFICER                                                          SERVING OFRCEI


                     for                                                                     for                                                                      for
  DATE                                                                     DATE                                                             DATE

OBJECTION TO VENUE:
To the Defendant(s): If you believe that Plaintiff(s) should have filed this suit in a different city or county, you may file a
                                                                                                                                         I certify that I mailed a copy of this document to the defendants
written request to have the case moved for trial to the general district court of that city or county. To do so, you must do the         named therein at the address shown therein on
following:

          1.    Prepare a written request which contains (a) this court's name, (b) the case number and the "return date" as                   DATE                         [ ] Plaintiff
                shown on the other side of this form in the right comer, (c) Plaintiff(s)' name(s) and Defendant(s)' name(s), (d)                                           [ ] Plaintiff; Atty.
                the phrase "I move to object to venue of this case in this court because" and state the reasons for your objection                                          [ ] Plaintiffs Agent
                and also state in which city or county the case should be tried, and (e) your signature and mailing address.
                                                                                                                                         Fi. Fa. issued on
          2.    File the written request in the clerk's office before the trial date (use the mail at your own risk) or give it to the
                judge when your case is called on the return date. Also send or deliver a copy to plaintiff.                             Interrogatories issued on:
                                                                                                                                         Garnishment issued on ..
          3.    If you mail this request to the court, you will be notified of the judge's decision.


   FORM DC-412 REVERSE 07/04
                     Case 2:20-cv-00137-AWA-DEM Document 1-1 Filed 03/11/20 Page 5 of 8 PageID# 8
  WARRANT IN DEBT (Owl, CLAIM FOR MONEY)                         CASE NO.                                                                                                                HEARING DATE AND
  Cornmori              Virginia     VA. CODE § 16.1-79                                                                                                                                        TIME
   Courtroom 2A 664,4913 ,                        Norfolk
                                                                                                                             tiCf
                                                                                                                                .....   ,   t   Nae,s\ncx.(k.n
                                                                                       General District Court                 PLAINTIF (S) ILAST NAME, FIRST NAME, MIDDLE INITIAL)
                                 CITY OR COUNTY
                                                                                                          •
                                                                                                                 Sr

                                                                                                                         5a..p1                                    \\ OpN
  Cottrtroom 2D 664-4914                          150 St. Paul's Blvd., Norfolk, VA 23510
                                             STREET ADDRESS OF COURT                                                                   0
  TO ANY AUTHORIZED OFFICER: You are hereby commanded to summons the Defendant(s).
                                                                                                                               r(co\ V1.94.0,9,
  TO THE DEFENDANT(S): You are summoned to appear before this Court at the above address on
                                                                                                                              /57- (363-
              i      k4) .10        9:00 a.m.               ...   to answer the Plaintiff(s ' civil claim (see below)
                                                                                                                              e_f ed,A- OCA\1011 L1-C_
                                                                                                                             DEFENDANT(S) (LAST NAME, FIRST NAME, MIDDLE INITIAL)
                                                                                                                                                                                           3 1106,-cCG
                          1 DATE AND TIME
                      RffFUN

                                                                                  i                                     4.4v9icefe
                                                                                                                        P1                          4. CT ccif wch\r‘Sot
                            r-C.)
                  DATE ISS6ED
                                                                        .150E    si
                                                                             PUTY ERK         [ ] MAGISTRATE             101 box.                        s             g
  CLAIM: Plaintiff(s) claim that Defendant(s) owe Plaintiff(s) a debt in the sum of                                     ()ter\                                             -(fw
  $ •3.‘ 000            net of any credits, with interest at (0         % from date of         03         until paid,

           5(71 .costs and $                        •
                                                          attorney's fees with the basis of this claim being                                WARRANT IN DEBT
  [ 1 0 en Acc9ynt [ ] Contract 1 I Note                Other (EXPLAIN)           \I 1 0\CA- 1 015 0*
                                                                                                    ---1
  —CC- ,   4      97 L1.15.C.§ aa-1)))(-1 )(4)0 ir                                                                      TO DEFENDANT: You are not required to appear;
                                                                                                                        however, if you fail to appear, judgment may be entered,:-::
757-33 -1c.133crl.: 1,i)i                        la iit.L
                                                        .flinn,
                                                            . la 61119/ yiatRA 114(k
                                                                                 9 px)                                  against you. See the additional notice of the reverse —7-;        JUDGMENT PAID OR
                                                                                                                        about requesting a change of trial location.                     SATISFIED PURSUANT
  HOMESTEAD EXEMPTIC; Vt,                        [I 1 I Sr ti TKO. 1 c'ariikbiarr9arilq
                                                                                                                                                                                         TO ATTACHED NOTICE
                                                                                                                        [ ] To dispute this claim, you    must appear on the retui-n•2
                                                                                                                                                                                    _      OF SATISFACTION.
                                                                                                                             date to try this case.
            D.tiTE                          PLAINTIFF [ PLAIINilFF'S ATTORNEY [ ] PLAINTIFF'S EMPLOYEE/AGENT
                                                                                                                        [ ] To dispute this claim, you must appear on the return                  DATE
  CASE DISPOSITION                                                                                                           date for the judge to set another date for trial.
  JUDGMENT against [ I named Defendant(s) [ ]                                                                           Bill of Particulars                                                       CLERK
                                                                                                                                                     ORDERED               DUE
  for $                          net of any credits, with interest at                 % from date

  of                        until paid, $                           costs and $                      attorney's fees    Grounds of Defense
                                                                                                                                                     ORDERED               DUE
                                                                                                                                                                                            DISABILITY
  [ ] and $                                 costs for Servicemember Civil Relief Act counsel fees                                                                                        ACCOMMODATIONS
  HOMESTEAD EXEMPTION WAIVED? [ ] YES [I NO [I CAN NOT BE DEMANDED                                                      ATTORNEY FOR PLAINTIFF(S)                                          for loss of hearing,
                                                                                                                                                                                          vision, mobility, etc.,
  [I JUDGMENT FOR [ ] NAMED DEFENDANT(S) [                                                                                                                                               contact the court ahead
                                                                                                                                                                                                 of time.

                                                                                                                        ATTORNEY FOR DEFENDANT(S)
   [ NON-SUIT [ ] DISMISSED

   Defendant(s) Present: [ ] NO [ YES


              DATE                                                   JUDGE

   FORM DC-4I2 (FRONT) REVISED 10/18 (A194681 6/19)
                                      Case 2:20-cv-00137-AWA-DEM Document 1-1 Filed 03/11/20 Page 6 of 8 PageID# 9
RETURNS: Each defendant was served according to law, as indicated below, unless not found.
                                               _
NAME                                                                     NAME'' .                                                             I
                                                                                                                                           NAME
                                                                                                                                                   I

ADDRESS                                                                  ADDRESS                                                               I
                                                                                                                                           ADDRESS
                                           .          -     .                           _
                                                                                                                                                   I

                              Tel.                                                                     Tel.                                   1 I                             Tel.
[ ]    PERSONAL SERVICE                                                  [ ]     PERSONAL SERVICE                                          [ j    PERSONAL SERVICE
                              No.                                                                      No.                                        1                           No.
       Being unable to make personal service, a copy was                        Being unable to make personal service, a copy was                 Being unable to make personal service, a copy was
       delivered in the following manner:             ..                        delivered in the following manner:                                delivered in the following manner:

[ ] Delivered to family member (not temporary                   -        [ ] Delivered to family member (not temporary                     [ ] Delivered to family member (not temporary
    sojourner or guest) age 16 or older at usual place                        sojourner or guest) age 16 or older at usual place               sojourner or guest) age 16 or older at usual place
    of abode of party named above after giving                               of abode of party named above after giving                        of abode of party named above after giving
    information of its purport. List name, age of                             information of its purport. List name, age of                    information of its purport. List name, age of
    recipient, and relation of recipient to party named                       recipient, and relation of recipient to party named              recipient, and relation of recipient to party named
    above.                                                                    above.                                                           above.
                                                                                                                                                                                                '



[ ] Posted on front door or such other door as                           [ ] Posted on front door or such other door as                    [ ] Posted on front door or such other door as
    appears to be the main entrance of usual place of                        appears to be the main entrance otusual place of                  appears to be the main entrance of usual place of
    abode, address listed above. (Other authorized                           abode, address listed above. (Other authorized                    abode, address listed above. (Other authorized
                                                                                                                              .
    recipient not found.)                                                    recipient not found.)                                             recipient not found.)

[ ] Served on Secretary of the Commonwealth                              [ ] Served on Secretary of the Commonwealth                       [ ] Served on Secretary of the Commonwealth

[ ]   NOT FOUND                                                          [ ]    NOT FOUND                                                  [ ]    NOT FOUND

                       SERVING OFFICER                                                         SERVING OFFICER                                                          SERVING OFFICER


                       for                                                                     for                                                                      for
  DATE                                                                         DATE                                                              DATE

OBJECTION TO VENUE:
To the Defendant(s): If you believe that Plaintiff(s) should have filed this suit in a different city or county, you may file a
                                                                                                                                           I certify that I mailed a copy of this document to the defendants
written request to have the case moved for trial to the general district court of that city or county. To do so, you must do the
                                                                                                                                           named therein at the address shown therein on
following:

            1.    Prepare a written request which contains (a) this court's name, (b) the case number and the "return date" as                    DATE                    [ I Plaintiff
                  shown on the other side of this form in the right corner, (c) Plaintiff(s) name(s) and Defendant(s)' name(s), (d)                                       [ Plaintiff's Atty.
                  the phrase "I move to object to venue of this case in this court because" and state the reasons for your objection                                      [ I Plaintiff's Agent
                  and also state in which city or county the case should be tried, and (e) your signature and mailing address.
                                                                                                                                           Fi. Fa. ssued on
            2.    File the written request in the clerk's office before the trial date (use the mail at your own risk) or give it to the
                  judge when your case is called on the return date. Also send or deliver a copy to plaintiff.                             Interrogatories issued on:
                                                                                                                                           Garnishment issued on
            3.    If you mail this request to the court, you will be notified of the judge's decision.


      FORM DC-412 REVERSE 07/04
                                                                                      t—c
                   Case 2:20-cv-00137-AWA-DEM Document 1-1 Filed 03/11/20 Page 7 of 8 PageID# 10
WARRANT IN DEBT (Civil, CLAIM FOR MONEY)                          ENO                                                                                                                       HEARING DATE AND
     DIM       ealth ofViginia        VA. CODE § 16.1-79                                                                                                                                          TIME
Courtroom 2A 66 4913                                Norfolk
                                                                                                                            , f               Na.e5\lua0 S
                                                                                                                              PLAINTS) ST NAME, FIRST NAME, MIDDLE INITIAL)
                                                                                        General District Court
                                  CITY OR COUNTY
                                                                                                                                  .   \                   op,
                                                                                                                                                     N.C.kc     \ACM
Courtroom 2D 664-4914                               150 St. Paul's Blvd., Norfolk, VA 23510
                                              STREET ADDRESS OF COURT                                                       'PO- IS3\o.
TO ANY AUTHORIZED OFFICER: You are hereby commanded to summons the Defendant(s).
TO THE1 EFE                NT(S): You are summoned to appear before this Court at the above address on
                                     9:00 a.m.                    . to answer the Plaintiff s   ' civil claim (ELbelow)       CI eciA (1)() -.f 01 i LLC.                                          o
                                                                                                                             DEFENDANT(S) (LAST NAME, FIRST NAME, MIDDLE INITIAL)
                  i It UN DATE AND TIME

                  I I LE                                                                                                     ..y4c                      .. .. .CT..((ds..wiaky.N5fitYY1
                DATE ISS                                    [ ] CLERK ‘2EPUTY C RK [ ] MAGISTRATE                            101                         S a 85
CLAIM: Plaintiff(s) claim that Defendant(s) owe Plaintiff(s) a debt in the sum of                                                                                   Quo -(03,06
$       •)‘ 1.01Z     net of any credits, with interest at       kg        % from date of .D03               until paid,

                    Oicosts and $                          attorney's fees with the basis of this claim being                             WARRANT IN DEBT
[I Open Account [ Contract []Note [ Other (EXPLAIN)                                 VIO\C41Cq5
7-L     \JA-                                                ) L )( A )0                 J10 szlIA,42f                      TO DEFENDANT: You are not required to appear;
                                                                                                                           however, if you fail to appear, judgment may be entered.7.1
                      Cr\                                                                 (4-tiloi (104,90                                                                                   JUDGMENT PAID OR
HOMESTEAD EXEMPTIOL                            P . [1    ,y. r   tl NO      1   cah      caPari9
                                                                                                                           against you. See the additional notice of the reverse ;
                                                                                                                           about requesting a change of trial location.                     SATISFIED PURSUANT
                                                                                                                                                                                            TO ATTACHED NOTICE
                                                                                                                           [I To dispute this claim, you      must appear on the retulin-     OF SATISFACTION.
                                                                                                                               date to try this case.
           DTE
                                       y     PLAINTIFF      PL        FF'S ATTORNEY [ PLAINTIFF'S EMPLOYEE/AGENT
                                                                                                                           [ I To dispute this claim, you must appear on the retufri                 DATE
CASE DISPOSITION                                                                                                                date for the judge to set another date for trial.
JUDGMENT against [ I named Defendant(s) [                                                                                                                                                            CLERK
                                                                                                                           Bill of Particulars ..,
                                                                                                                                                      ORDERED                  DUE
for $                             net of any credits, with interest at                % from date

of                           until paid, $                            costs and $                       attorney's fees    Grounds of Defense
                                                                                                                                                      ORDERED                  DUE
                                                                                                                                                                                               DISABILITY
[    and $                                    costs for Servicemember Civil Relief Act counsel fees                                                                                         ACCOMMODATIONS
HOMESTEAD EXEMPTION WAIVED? [ YES [I NO [I CAN NOT BE DEMANDED                                                             ATTORNEY FOR PLAINTIFF(S)                                          for loss of hearing,
                                                                                                                                                                                             vision, mobility, etc.,
[I JUDGMENT FOR [ NAMED DEFENDANT(S) [                                                                                                                                                      contact the court ahead
                                                                                                                                                                                                    of time.

                                                                                                                           ATTORNEY FOR DEFENDANT(S)
[1 NON-SUIT [ I DISMISSED

Defendant(s) Present: [ NO [ I YES


             DATE                                                       JUDGE

FORM DC-412 (FRONT) REVISED 10/18 (A194681 6/19)
                                     Case 2:20-cv-00137-AWA-DEM Document 1-1 Filed 03/11/20 Page 8 of 8 PageID# 11
RETURNS: Each defendant was served according to law, as indicated below, unless not found.

NAME                                                                     NAME                                                                 1
                                                                                                                                           NAME                                                .
                                                                                                                                                     I

ADDRESS                                                                  ADDRESS                                                              I
                                                                                                                                           ADDRESS
                                            _
                                                                                                                                                    1

                              Tel.                                                                    Tel.                                 - [ 1Tel.
[ ]    PERSONAL SERVICE                                                  [ ]   PERSONAL SERVICE                                                j 'PERSONAL SERVICE
                              No.                                                                     No.                                            1                             No.
       Being unable to make personal service, a copy was                       Being unable to make personal service, a copy was                    Being unable to make personal service, a'copy was
       delivered in the following manner:                                      delivered in the following manner:                          •        celivered in the following manner:

[ ] Delivered to family member (not temporary           -                [ ] Delivered to family member (not temporary                       [ I Delivered to family member (not temporary
    sojourner or guest) age 16 or older at usual place                        sojourner or guest) age 16 or older at usual place                 sojourner or guest) age 16 or older at usual place
                                                                                                                                           .
    of abode of party named above after giving                               of abode of party named above after giving                          of abode of party named above after giving
    information of its purport. List name, age of                             information of its purport. List name, age of                .     information of its purport. List name, age of
    recipient, and relation of recipient to party named                       recipient, and relation of recipient to party named                recipient,
                                                                                                                                                  i
                                                                                                                                                            and relation of recipient to party named
    above.                                                                    above.                                                             above.


                                                                                                           —
[ ] Posted on front door or such other door as                           [ ] Posted on front door or such other door as                    [ ] Posted on front door or such other door as
    appears to be the main entrance of usual place of                        appears to be the main entrance of usual place of                 appears to be the main entrance of usual place of
    abode, address listed above. (Other authorized                           abode, address listed above. (Other authorized                    abode, address listed above. (Other authorized
    recipient not found.)                                                    recipient not found.)                                             recipient not found.)

[ ] Served on Secretary of the Commonwealth                              [ ] Served on Secretary of the Commonwealth                       [ ] Served on Secretary of the Commonwealth

[ ]   NOT FOUND                                                          [ ]   NOT FOUND                                                   [ ]      IT FOUND

                      SERVING OFFICER                                                          SERVING OFFICER                                                              SERVING OFFICER


                       for                                                                     for                                                                          for
  DATE                                                                      DATE                                                                  DATE

OBJECTION To VENUE:
To the Defendant(s): If you believe that Plaintiff(s) should have filed this suit in a different city or county, you may file a
                                                                                                                                               I certify that I mailed a copy of this document to the defendants
written request to have the case moved for trial to the general district court of that city or county. To do so, you must do the
                                                                                                                                               named therein at the address shown therein on
following:

            1.    Prepare a written request which contains (a) this court's name, (b) the case number and the "return date" as                      DATE                          [ ] Plaintiff
                  shown on the other side of this form in the right corner, (c) Plaintiff(s)' name(s) and Defendant(s)' name(s), (d)                                              [ I Plaintiffs Atty.
                  the phrase "I move to object to venue of this case in this court because" and state the reasons for your objection                                              [ ] Plaintiff's Agent
                  and also state in which city or county the case should be tried, and (e) your signature and mailing address.
                                                                                                                                               Fi. Fa. 'ssued on
            2.    File the written request in the clerk's office before the trial date (use the mail at your own risk) or give it to the
                  judge when your case is called on the return date. Also send or deliver a copy to plaintiff.                                 Interrogatories issued on:
                                                                                                                                               Garnishment issued on
            3.    If you mail this request to the court, you will be notified of the judge's decision.


      FORM DC-412 REVERSE 07/04
